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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 20-22538-CIV-ALTONAGA/Goodman

  CARLOS BRITO,

         Plaintiff,
  v.

  SUNSHINE GASOLINE
  DISTRIBUTORS, INC.; et al.,

        Defendants.
  ____________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon the Joint Notice of Settlement [ECF No. 20],

  filed on September 18, 2020. The Court having carefully reviewed the file, and being otherwise

  fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file a stipulation for dismissal within sixty (60) days of the date of this Order.

         2. If the parties fail to complete the expected settlement, either party may request the

  Court to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Miami, Florida, this 18th day of September, 2020.



                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
